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                                                                                  2019 Oct-22 AM 10:40
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

PHILLIP C. STEARMAN AND                       )
TRISTAN STEARMAN                              )
                                              )
      Plaintiffs,                             )
                                              )
v.                                            )     CASE NO.:
                                              )     7:19-cv-1202-LSC
VESPER TUSCALOOSA, LLC;                       )
PROCOLLECT, INC.; EQUIFAX                     )
INFORMATION SERVICES, LLC;                    )
and TRANS UNION, LLC,                         )
                                              )
      Defendants.                             )

              PLAINTIFFS’ RULE 12(B)(6) MOTION TO DISMISS

      Plaintiffs/Counter-Defendants Phillip C. Stearman and Tristan Stearman

(collectively referred to as “Plaintiffs”) come before this Honorable Court pursuant

to Rule 12(b)(6) of the Federal Rules of Civil Procedure to file the following Motion

to Dismiss Count Three of the Counterclaim [Document 20] filed in this action by

against Plaintiffs by Defendant/Counter-Plaintiff Vesper Tuscaloosa, LLC

(“Vesper”):

                         PRELIMINARY STATEMENT

      Count Three of Vesper’s Counterclaim alleges breach of good faith and fair

dealing against Plaintiffs (i.e., “bad faith”). Vesper is the former landlord for

Plaintiffs pursuant to a written lease agreement. Vesper alleges contract based claims
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against Plaintiffs based on the terms of the lease agreement. No insurance claims are

the subject of this action or any claims asserted herein. Alabama law does not allow

for separate causes of action for breach of good faith and fair dealing for under

contract or tort for non-insurance claims. Therefore, Vesper cannot possibly prevail

on Count Three of its Counterclaim against Plaintiffs, which causes Count Three due

to be dismissed under Fed.R.Civ.P., Rule 12(b)(6).

                       COUNTERCLAIM ALLEGATIONS

                                 A. Factual Allegations

         1.   Vesper alleges Plaintiffs and Vesper entered into a [written] lease

agreement for rental of an apartment unit in a complex owned by Vesper and located

in Tuscaloosa, Alabama (“Lease”). [Doc. 20, p.27].

         2.   Vesper alleges the Lease required Plaintiffs to pay Vesper money

for monthly rent by or before the first day of each month during the lease term of

August 19, 2017 through August 4, 2018. [Id.].

         3.   Vesper alleges the Lease did not require a security deposit and that no

such deposit was tendered to Vesper by Plaintiffs. [Id.].

         4.   Vesper alleges Tristan Stearman (“Tristan”) took possession of

the Vesper unit in August of 2017, but “failed to compete and return the Inventory

and Condition form within twenty-four (24) hours of the Lease’s start date.” [Id. at

p.28].


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       5.      Vesper alleges that between August 23, 2017 – September 11, 2017,

Plaintiffs and employee(s) from Vesper communicated about Plaintiffs complaints

as to the pest issues, concerns, and cleanliness of the Vesper unit. Vesper also alleges

Phillip Stearman (“Phillip”) notified Vesper in writing during this same time that

Tristan would be terminating the lease and moving out of the unit. [Id. at 28-31].

       6.      Vesper alleges that during the same time, its employee(s) emailed

Phillip on more than one occasion to tell him that Vesper does not accept Plaintiffs’

termination of the Lease. [Id. at 29-31].

       7.      Vesper alleges that Plaintiffs “failed or refused to remit payment

pursuant to the terms of the Lease and pursuant to Phillip’s guaranty of the Lease.”

[Id. at 31].

       8.      Vesper alleges it therefore, turned over the Plaintiffs’ account to an

outside collection firm. [Id.].

       9.      Vesper alleges that “[t]o date, Plaintiffs have failed or refused to honor

their contractual, statutory, and common law obligations, and instead, instituted this

action in bad faith in an effort to threaten and harass Vesper just as Phillip did by

email.” [Id.].

            B. Count Three Claim Allegations– Breach of Common Law and
                     Statutory Duty of Good Faith and Fair Dealing

       10.     Vesper pleads that Plaintiffs “owed Vesper a common-law and



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statutory duty of good faith and fair dealing”, but that Plaintiffs violated or breached

this good faith and fair dealing duties owed to Vesper causing Vesper alleged

damages. [Doc.20, pp.33-35].

      11.    Vesper pleads that Tristan breached his duty of good faith and fair

dealing owed to Vesper by “failing to provide the timely and adequate notice,

refusing to afford Vesper the time allotted by the Lease and by the applicable law to

investigate and cure and alleged issues, attempting to wrongfully, unilaterally

terminate the Lease, abandoning the unit, and failing or refusing to honor his other

obligations under the Lease.” [Id. at 34].

      12.    Vesper pleads that Phillip breached his duty of good faith and fair

dealing with Vesper by “failing to provide timely and adequate notice as described

above, refusing to afford Vesper the time allotted by the Lease and by the applicable

law to investigate and cure any alleged issues, attempting to wrongfully, unilaterally

terminate the Lease, and threatening to take actions there were known to be way

outside the bounds of the dispute solely to harass, intimidate, coerce, or otherwise

wrongfully force Vesper to consent to his demands.” [Id.].

      13.    Vesper further pleads that Plaintiffs together have acted in “bad faith”;

without “business judgment concern”; and without the care and concern a reasonable

person in like position would have exercised under similar circumstances by filing

this litigation and basing part of their claim upon a security deposit Vesper alleges


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was not paid. [Id.].

                                STANDARD OF REVIEW

      A court may dismiss a complaint under Fed.R.Civ.P., Rule 12(b)(6) only if it

appears beyond a doubt that the Plaintiff can prove no set of facts in support of his

claims which would entitle him to relief. Wright v. Birmingham Bd. of Educ., No.

2:05-CV-2238-VEH, 2006 WL 8437799, at *1 (N.D. Ala. May 9, 2006); citing

Conley v. Gibson, 355 U.S. 41, 45-46 (1957). The evaluation of a Rule

12(b)(6) motion is “limited primarily to the face of the complaint and attachments

thereto.” Starship Enters. of Atlanta, Inc. v. Coweta Cnty., Ga., 708 F.3d 1243, n. 13

(11th Cir.2013). In deciding a Rule 12(b)(6) motion, the court must “accept all well-

pleaded factual allegations in the complaint as true and construe the facts in a light

most favorable to the non-moving party.” Id.

      “[U]nsupported conclusions of law or of mixed fact and law have long been

recognized not to prevent a Rule 12(b)(6) dismissal.” Dalrymple v. Reno, 334 F.3d

991, 996 (11th Cir. 2003)(quoting Marsh v. Butler County, 268 F.3d 1014, 1036 n.

16 (11th Cir. 2001). To survive Rule 12(b)(6)scrutiny, “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167

L.Ed.2d 929 (2007)). “[F]acial plausibility” exists “when the plaintiff pleads factual


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content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556, 127 S.Ct.

1955).

                           SUMMARY OF ARGUMENT

      Vesper’s claim to relief under Count Three of its Counterclaim is not
plausible on its face under Alabama law and therefore, nothing pled can lead
to evidence in the future allowing for relief under Count Three.

      The facts as pled by Vesper can never support a claim for relief based on

breach of good faith and fair dealing (i.e., “bad faith) because Alabama does not

recognize such claims outside of an insurance contract. Therefore, dismissal of

Vesper’s Count Three is proper under Rule 12(b)(6) of the Fed.R.Civ.P. because it

alleges Plaintiffs are in breach of their duty of good faith and fair dealing with Vesper

for reasons outside the express terms of the Lease and no insurance claims are pled

by the parties to be at issue in the case.

      The Alabama Supreme Court has consistently and explicitly held that there is

not good faith contractual cause of action. Tanner v. Church's Fried Chicken,

Inc., 582 So.2d 449, 451 (Ala.1991); Government Street Lumber Co. v. AmSouth

Bank, N.A., 553 So.2d 68, 72 (Ala.1989); Lake Martin/Alabama Power Licensee

Ass'n, Inc. v. Alabama Power Co., 601 So. 2d 942, 944–45 (Ala. 1992). Furthermore,

Alabama courts have consistently maintained that that there can be no valid bad faith

claim pursued as a tort claim “beyond the area of insurance policy cases.”


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See Brown–Marx Associates, Ltd. v. Emigrant Savings Bank, 527 F.Supp. 277

(N.D.Ala.1981), aff'd, 703 F.2d 1361 (11th Cir.1983); Harrell v. Reynolds Metals

Co., 495 So.2d 1381, 1388 (Ala.1986).”

      This position is based on the general rule that “every contract carries with it

an implied-in-law duty of good faith and fair dealing”. Chavers v. National Security

Fire & Casualty Co., 405 So.2d 1 (Ala.1981); Eager Beaver Buick, Inc. v. Burt, 503

So.2d 819, 822 (Ala.1987)( involved a breach of an implied promise not to hinder

or delay performance of the specific terms of the contract by the other party, which

contracting parties impliedly promise not to do. “A breach of this implied promise

may be construed as an actual breach of the contract, thereby giving the other party

a cause of action on the contract.”); Hilley v. Allstate Ins. Co., 562 So. 2d 184, 190

(Ala. 1990); see, also, Hoffman–LaRoche, Inc. v. Campbell, 512 So.2d 725

(Ala.1987); Brown–Marx Associates, Ltd., 527 F.Supp. 27, aff'd, 703 F.2d 1361

(11th Cir.1983). While the proposition is recognized that neither party to a contract

will interfere with the rights of the others to receive the benefits of the agreement,

we allow a claim for good faith under contract and tort law in addition to the implied

and express duties already set out in the specific terms of a contract would supply a

term that adds something new or different to the rights and obligations to which the

parties have expressly agreed or to vary clear contract terms. Hilley, 562 So. 2d at

190; cited by Dyas v. City of Fairhope, 2010 WL 5158381 * 4 (S.D.Ala.Dec.4,


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2010). Therefore, Alabama courts do not recognize a bad faith claim under contract

law absent a breach of a specific term of the contract lending to breach of the express

or implied contract term.

      Vesper has pled in Count Three of its Counterclaim against Plaintiffs not that

Plaintiffs breached specific terms of the Lease. Instead, Vesper pleads that Plaintiffs’

communications and other actions were performed in “bad faith”, without “business

judgment concern”; and “not consistent with the degree of care and concern a

reasonable person in like position would have exercised under similar

circumstances”. [Doc. 20, p.34]. Examples given by Vesper in its pleading of

Plaintiffs’ “bad faith” actions which are the basis of Vesper’s Count Three are 1)

filing this litigation, 2) basing part of Plaintiffs’ claim upon a security deposit Vesper

alleges was not paid, and 3) threatening to take actions outside the bounds of the

dispute solely to harass, intimidate, coerce, or otherwise wrongfully force Vesper to

consent       to    Plaintiffs’     demands.        [Id.     at     34      and      35].

      Clearly, none of the reasons given by Vesper in its claim for breach of good

faith and fair dealing (Count Three) are allegations of breaches of specific terms of

the Lease, unlike the specific terms of the Lease alleged to be breached in Vesper’s

Counts One and Two of its Counterclaim. Instead, Vesper attempts to plead and add

something new or different to the rights and obligations to which Vesper and

Plaintiffs expressly agreed to in the Lease. Alabama does not allow this “good-faith


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contractual cause of action”. Tanner v. Church's Fried Chicken, Inc., 582 So.2d 451;

Government Street Lumber Co., 553 So.2d 72; Lake Martin/Alabama Power

Licensee Ass'n, Inc., 601 So. 2d 944–45. Therefore, there are no set of circumstances

as pled by Vesper that can lead to it getting relief under its Count Three breach of

good faith and fair dealing claim. Vesper’s nor Plaintiffs’ pleadings allege that their

claims arise from dealings in relation to insurance claims/policies. Therefore, Vesper

cannot under any circumstances prevail on bad faith claim pursued as a tort claim.

Brown–Marx Associates, Ltd., 527 F.Supp. 277 (N.D.Ala.1981), aff'd, 703 F.2d

1361 (11th Cir.1983).

                                  CONCLUSION

      WHEREFORE, the above premises considered, Plaintiffs Tristan Stearman

and Phillip C. Stearman, respectfully request this Honorable Court dismiss with

prejudice pursuant to Rule 12(b)(6) of the F.R.C.P. Count Three of Vesper

Tuscaloosa, LLC’s Counterclaim because its fails to state a claim upon which relief

can be granted.

                                        Respectfully submitted on October 22, 2019,
                                        by

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                        CERTIFICATE OF SERVICE

       I hereby certify that on October 22, 2019, I served a copy of the foregoing
with the Clerk of Court using the CM/ECF System, which will send notification to
the following counsel of record:

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